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                              UNITED STATES BANKURPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    ION GEOPHYSICAL CORPORATION, et al.,1                        )   Case No. 22-30987 (MI)
                                                                 )
                                                                 )
                             Debtors.                                (Jointly Administered)
                                                                 )
                                                                 )


                            NOTICE ADJOURNING SALE HEARING
                        AND CERTAIN RELATED DATES AND DEADLINES

        PLEASE TAKE NOTICE that on May 3, 2022, the Bankruptcy Court for the Southern
District of Texas (the “Court”) entered the Order (I) Approving (A) Bidding Procedures and (B)
Assumption and Assignment Procedures and (II) Granting Related Relief [Docket No. 174] (the
“Bid Procedures Order”).

       PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures Order, the
Court set certain dates related to the sale process, which dates may be modified by the Debtors, in
consultation with the Consultation Parties, without further order of the Court.

       PLEASE TAKE FURTHER NOTICE that on June 9, 2022, the Debtors filed their Notice
Adjourning Sale Hearing, Combined Hearing, and Certain Related Dates and Deadlines [Docket
No. 308] (the “Notice”), pursuant to which the Debtors, as allowed by the Bid Procedures Order,
extended certain of the dates set forth in the Bid Procedures Order (as set forth below, the “Sale
Dates”).

       PLEASE TAKE FURTHER NOTICE that the Sale Dates are hereby further extended in
accordance with the Bid Procedures Order as follows:

                                                  Sale Dates                    New Deadline / Time
                   Event
                                          (prevailing Central Time)           (prevailing Central Time)
                Deadline to File
             Objections to the Sale
                                             July 1, 2022 at 4:00 p.m.          July 13, 2022 at 4:00 p.m.
             Transactions (the “Sale
              Objection Deadline”)


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
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                                            Sale Dates               New Deadline / Time
             Event
                                    (prevailing Central Time)      (prevailing Central Time)
     Deadline to File Contract
     Objections (the “Contract        July 1, 2022 at 4:00 p.m.     July 13, 2022 at 4:00 p.m.
      Objection Deadline”)

            Sale Hearing              July 6, 2022 at 9:30 a.m.     July 18, 2022 at 1:30 p.m.


        PLEASE TAKE FURTHER NOTICE that all documents filed in these chapter 11 cases
are available free of charge by visiting https://dm.epiq11.com/IONGeophysical, by calling (855)
604-1746 (domestic) or +1 (503) 597-7702 (international), or by email at IONGeoInfo@epiqglobal.com.
Copies of any pleadings or papers filed with the Court may be obtained by visiting the Court’s
website at https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth
therein.
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Dated: June 30, 2022                     WINSTON & STRAWN LLP
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                                         Counsel to the Debtors and Debtors in Possession
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                                     Certificate of Service

        I certify that on June 30, 2022, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                             /s/ Katherine A. Preston
                                             Katherine A. Preston
